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                               United States District Court
                            for the Northern District of Texas
                                 Fort Worth         Division

 United States of America
         Plaintiff,                                          Case No. 4:14-CR-151-Y(2)
 v.
                                                             73832-379
                                                             Federal Register Number
 Jesus Gerardo Ledezma-Campano ,
        Defendant.

           ORDER ON MOTION FOR REDUCTION OF SENTENCE UNDER
        18 U.S.C. § 3582(c)(2) AND AMENDMENTS 821 & 825 TO THE FEDERAL
                               SENTENCING GUIDELINES

Upon motion of the defendant under 18 U.S.C. § 3582(c)(2) for a reduction in the term of
imprisonment imposed based on the amendment found at

                      USSG § 4C1.1 Adjustment for Zero-Point Offenders,

which has been made retroactive by the United States Sentencing Commission under 28 U.S.C.
§ 994(u), and having considered such motion, and considering the policy statement set forth at
U.S.S.G. § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that
they are applicable, and for the reasons detailed in the Statement of Reasons, the motion is
DENIED.

The defendant does not meet the criteria set forth in 18 U.S.C. § 3582(c) and USSG §1B1.10(d).
Specifically, he is not eligible for the two-level reduction for zero-point offender because the
offense resulted in death. USSG §4C1.1(a)(4). Based on the defendant's ineligible status, a
sentence reduction is not warranted.

SIGNED: April 22, 2025
                                                        TERRY R. MEANS
                                                        UNITED STATES DISTRICT JUDGE
